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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 17-20144-CR- Altonaga/O’Sullivan

UNITED STATES OF AMERICA,

Plaintiff,
vs.

EDISON WASHINGTON PRADO ALAVA,
a/k/a “Jhon Alex Rengifo Garcia”, et al.,

Defendant.

DEFENDANT EDISON WASHINGTON PRADO ALAVA’S WAIVER OF SPEEDY
TRIAL

COMES NOW the Defendant, EDISON WASHINGTON PRADO ALAVA, (“Mr.
Alava”) and hereby notifies this Honorable Court that he has been explained his right to a
speedy trial. Mr. Alava understands that this right can be Waived upon the showing of good
cause and in the interest of justice. Mr. Alava submits that he freely, voluntarily, and With the
advice of counsel, gives up his right to a speedy trial because it is in his best interest to do so
upon seeking a continuance of the trial in this case, understanding that he might not proceed to
trial until July 28, 2018.

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Date Edison Washington Prado Alava

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. l7-20144-CR- Altonaga/O’Sullivan

UNITED STATES OF AMERICA,

Plaintiff,
vs.

EDISON WASHINGTON PRADO ALAVA,
a/k/a “Jhon Alex Rengifo Garcia”, et al.,

Defendant.

DEFENDANT EDISON WASHINGTON PRADO ALAVA’S WAIVER OF SPEEDY
TRIAL (SPANISH VERSION)

El acusado y suscrito Edison Washington Prado Alava (“Sr. Alava”) certifica que esta informado
y consciente que tiene un derecho a un juicio acelerado cuyo juicio en este momento esta
fechado para el dia 16 de abril, 2018. Tarnbie'n reconoce que tiene el derecho de renuncia a un
juicio acelerado demostrando suficiente causa para extender la fecha del juicio ~ esto para que su
abogado de defensa tenga suticiente tiempo para analizar pruebas, desarrollar estrategia,
consultas entre abogado y cliente, y preparacion de juicio o decision de hacer una reconciliacion
de los cargo sin proceder a juicio. El acusado y suscrito Edison Washington Prado Alava
conscientemente y voluntariamente renuncia el derecho de proceder al juicio en la fecha

indicada, pidiendo postergacion de tal juicio hasta Julio 27, 2018.

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Fecha Edison Washington Prado Alava

 

 

